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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTMCT OF NEW YORK


ATHENEX PHARMA SOLUTIONS, LLC and
ATHENEX PHARMACEUTICAL DIVISION,
LLC,

     Plaintiffs,
                                       Case No. 1S-cv-00896-GWC
V.


PAR PHARMACEUTICAL, INC., PAR
STERILEPRODUCTS, LLC, and ENDO PAR
INNOVATION COMPANY, LLC,

     Defendants.



PAR PHARMACEUTICAL, INC., PAR STERILE PRODUCTS, LLC, AND ENDO PAR
INNOVATION COMPANY, LLC'S MEMORANDUM IN SUPPORT OF MOTION FOR
   LEAVE TO FILE SUPPLEMENTAL INFORMATION IN SUPPORT OF THEIR
           MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(l)
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        Defendants request permission to submit the Food and Drag Administration Notice

published in the Federal Register on March 4, 2019 (Exhibit A to Brady Affidavit). The Notice

removes all doubtthatthere is no subjectmatterjurisdiction over Plaintiffs' declaratoryjudgment

case. Simply put, the FDA's determination, published in the Federal Register, means that Plaintiffs

cannot sell their "bulk compounded" dmg product that they contended gave rise to a case or

controversy in this action. While Defendants submit that subject matter jurisdiction never existed

inthiscase, asreflectedin Defendants' Motionto Dismiss(ECFNo. 10),theFDA'sdetermination

destroys anyargument thatthe casehastherequisite immediacy to constitute a caseorcontroversy.

        Specifically, the FDA yesterday issued a final determinationthat there is no clinical need

for an outsourcing facility (such as Athenex) to compound bulk vasopressin, and thus FDA will

not include vasopressin on the 503B Bulks List. ExhibitA, Federal Register 84 No. 42 (Mar. 4,

2019) at 7388. Athenex has admitted that if "vasopressin were removed from the Category 1

[503B Bulks] List, Athenex would be forced to stop selling its vasopressinproducts. " ECFNo.

17, Ex. B at T[ 21. As Athenex is now prohibited from selling its compounded vasopressin

products, there is no declaratory judgment jurisdiction and the Court should dismiss this case.

       As Par stated in its opening Motion to Dismiss (BCF No. 10-7), it is the bedrock mle of

declaratory judgment jurisdiction that a "case or controversy must be based on a real and

immediate injury or threat of future injury that is caused by the defendants. " Prasco, LLC v.

Medicis Pharm. Corp., 537 F.3d 1329, 1339 (Fed. Cir. 2008) (emphasis in original); see also

Medlmmune, Inc. v. Genentech, Inc., 549 U. S. 118, 127 (2007). The only purported injury or

threat of future injury Athenex asserted in its complaint arose from a supposed threat of patent

infringement litigation based on "bulk compounded" vasopressin products that Athenex intended

to sell. See ECF No. 16 at Section III.B and III.C. But in light of the FDA's final determination
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(ExhibitA), Athenex cannot sell bulk compounded vasopressinproducts. Therefore, there is no

real and immediate injury or threat offuture injury causedby Par. As Athenex readily admits, its

redress is with the FDA, not Par. ECF No. 16 at 24 ("Athenex may still bring suit challenging

FDA'sdetermination"); see Simonv. E. Ky. Welfare Rights Org., 426 U. S. 26, 41-42(1976) ("the

 caseor controversy' limitation ofArt. III... requires that a federal court actonly to redress injury

that fairly can be traced to the challenged action ofthe defendant, andnot injury that results &om

the independent action of some third party not before the court"). In fact, Athenex has already

filed suit against the FDA, including a motion for a temporary restraining order, in response to

yesterday's determination by FDA. Civil Action No. l:19-cv-00603 (D.D.C.). In its Complaint

in that action, Athenex againadmits that the PDA'S determination means that Athenex cannot sell

bulk compoundedvasopressin. There is simply no caseor controversy here.

       For the reasons stated herein and in Par's Motion to Dismiss (ECF No. 10 and 19), the

Court should dismiss this case for lack of subject matter jurisdiction.

DATED: Buffalo, NewYork
       March 5, 2019

                                                      HAGERTY & BRADY

                                                      By: s/ Michael A. Brady
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